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                    United States Court of International Trade
                           Honorable Jane A. Restani

                                   Appearance Sheet

Docket No. 23-00041
June 25, 2024 - Oral Argument
1:30 p.m.
Courtroom 2
Jurisdiction 1581(c)

                                Elysium Tiles, Inc. et al,
                                       Plaintiffs,
                                            v.
                                    United States et al,

                                      Defendants.

                                        Counsel


Plaintiff
David John Craven
Craven Trade Law LLC

Defendant
Christopher A. Berridge
U.S. Department of Justice
Vania Y. Wang
U.S. Department of Commerce

Defendant-Intervenor (Coalition)
David M. Spooner
Barnes & Thornburg, LLP
